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 5
                        IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                      ) Case No.: CR.S. 12-316 LKK
     United States of America,          )
 9                                      ) ORDER RE WAIVER OF DEFENDANT’S
                Plaintiff,              ) PRESENCE
10                                      ) [Fed.R.Crim. Pro. 43]
          vs.                           )
11                                      ) Court: Hon. Judge Lawrence K.
                                        ) Karlton
12   Michelle Wright                    )
                                        )
13              Defendant.
14

15

16        Ms. Wright hereby waives the right to be present in person in
17   open Court upon the hearing of any motion or other proceeding in this
18   case, including, but not limited to, when the case is ordered set for
19   trial, when a continuance is ordered, and when any other action is
20   taken by the court before or after trial, except upon arraignment,
21   initial appearance, plea, trial confirmation hearing, impanelment of
22   jury, every trial stage including verdict, and imposition of sentence.
23   The defendant hereby requests the Court to proceed during every
24   absence of her which the Court may permit pursuant to this waiver,
25   agrees that her interests will be deemed represented at all times by
26   the presence of her attorney the same as if she were personally
27   present, and further agrees to be present in Court and ready for trial
28   any day and hour the Court may fix in her absence.




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 1             The defendant further acknowledges that she has been

 2   informed of her rights under 18 U.S.C. § 3161 – 3174 (the Speedy Trial

 3   Act), and authorizes her attorney to set times and delays under that

 4   act without her being present.    With the Court’s permission, Ms.

 5   Wright respectfully requests that this Court accept her waiver of

 6   appearance when the statute deems her presence inessential and this

 7   Court consents.   The reason for this request is that Ms. Wright

 8   resides in Stockton, has limited means to travel back and forth for

 9   inessential status conferences or other scheduling matters and is in

10   the process of seeking employment, including a job interview call back

11   during the next scheduled status conference.

12
     Dated: June 10, 2013              Respectfully submitted,
13

14

15                                    __/s/ Shari Rusk___
                                      Shari Rusk
16                                    Attorney for Defendant
                                      Michelle Wright
17

18                                     /s/ Michele Wright
                                       DEFENDANT
19                                     Michele Wright
20

21
                                       ORDER
22

23
          IT IS SO ORDERED.
24
     DATED: June 10, 2013
25

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